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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                              CRIMINAL ACTION

VERSUS                                                NO. 13-286

ANTHONY ELLIS                                         SECTION R



                         ORDER AND REASONS

       Defendant Anthony Ellis has moved to vacate his sentence under 28

U.S.C. § 2255, and requests the appointment of counsel to represent him in

this collateral proceeding.1 For the following reasons, Ellis’s motion for

appointment of counsel is denied.



I.     BACKGROUND

       On April 20, 2015, defendant Anthony Ellis pleaded guilty to

transportation of an individual for purposes of engaging in prostitution in

violation of 18 U.S.C. § 2421, and conspiracy to commit sex trafficking in

violation of 18 U.S.C. §§ 371 and 1591(a).2 Ellis waived his right to appeal

and collaterally challenge his conviction and sentence, but he retained the

right to raise a claim of ineffective assistance of counsel in an appropriate



1      R. Docs. 442, 460.
2      See R. Docs. 192, 375.
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proceeding.3 The Court accepted the plea agreement and sentenced Ellis to

60 months imprisonment as to conspiracy to commit sex trafficking, and 120

months imprisonment as to transportation of an individual for purposes of

engaging in prostitution, to be served consecutively.4

        Ellis has moved to vacate his sentence under 28 U.S.C. § 2255, and now

requests the appointment of counsel.



II.     DISCUSSION

        Unlike defendants in criminal proceedings and prisoners directly

appealing judgments in criminal cases as a matter of right, prisoners

mounting collateral attacks on their convictions do not have a right to

counsel under the Sixth Amendment. See Pennsylvania v. Finley, 481 U.S.

551, 555 (1987). But a court has discretion to appoint counsel to a “financially

eligible person” seeking relief under 28 U.S.C. § 2255 when “the interests of

justice so require.” 18 U.S.C. § 3006A(a)(2).

        Ellis has not demonstrated that his Section 2255 motion warrants the

appointment of counsel. Ellis’s motion adequately presents his arguments,

and it is not clear how the appointment of counsel would assist the Court in




3       R. Doc. 192 at 2-3.
4       R. Doc. 375 at 2.
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evaluating those arguments. The Court finds that the interests of justice do

not require the appointment of counsel in this case.



III. CONCLUSION

     For the foregoing reasons, the Court DENIES Ellis’s motion for

appointment of counsel.
                                    22nd
      New Orleans, Louisiana, this _______ day of February, 2018.



            ___________________________________

                          SARAH S. VANCE
                   UNITED STATES DISTRICT JUDGE




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